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IN THE UNITED sTATEs DISTRICT coURT
FOR THE WESTERN DISTRICT oF TENNESSE§F~FM l ,`
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cv.‘~.).

KEVIN MILLEN,
Plaintiff,

vs. No. 04-3016-Ml/An

FRIEDMAN ' S , INC. ,

Defendant.

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ORDER DENYING LEAVE 'I‘O PROCEED §§ FORMF-\ PAUPERIS
AND
ORDER DIRECTING PLAIN'I'IFF TO PAY THE CIVIL FILING FEE

 

Plaintiff Kevin Millen filed a p;g §§ complaint pursuant
to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e §§
§§g;, and the Americans with Disabilities Act, 29 U.S.C. § llel §§
§§g;, on December 15, 2004, along with a motion seeking leave to
proceed in fg;gg pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee of $lBO.” 28 U.S.C. § 1914(a). To
ensure access to the courts, however, 28 U.S.C. § lQlB(a) permits
an indigent plaintiff to avoid payment of filing fees by filing an
in fgrm§ pauperis affidavit. Under that section, the Court must
conduct a satisfactory inquiry into the plaintiff's ability to pay

the filing fee and prosec te he lawsuit. A plaintiff seeking in

T?"‘s document entered on the docket s ?m lla%-. d
ms mile 58 and/or 79(3) FRCP on

 
  
 

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fp;mp pauperis standing must respond fully to the questions on the
Court’s lp _fp;ma pauperis form. and, execute the affidavit in
compliance with the certification requirements contained in 28
U.S.C. § 1746. See, e.g., Revnolds v. Federal Bur. of Prisons, 30
Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v. Fort Knox Fed.

Credit Union, No. 86“1896, 1997 WL 242043 (6th Cir. May 8, 1997).

 

As the Plaintiff’s motion to proceed ip fp£ma pauperis
contains no information concerning his monthly income, assets, and
financial obligations, the Court has no basis for concluding that
he is indigent and unable to pay the filing fee or to give security
therefor. Accordingly, the motion to proceed ip fp;pp pauperis is
DENIED. The plaintiff is ORDERED, within thirty (30) days of the
date of entry of this order, to pay the $lBO civil filing fee.
Failure to timely comply with this order will result in dismissal

of this action, pursuant to Fed. R. Civ. P. 4l(b), for failure to

IT IS SO ORDERED this _Ll` day of M, 2005.
QM @l“ (;Qll

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

\\

prosecute.

     

UNITSED`ATE DISTRICT C URT - WESTE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-030]6 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

Kevin Millen
4104 Stillwood Dr.
l\/lemphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

